Case 1:14-cv-23323-RNS Document 215-1 Entered on FLSD Docket 07/14/2017 Page 1of3

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

DISABILITY RIGHTS FLORIDA, INC.,
on behalf of its Clients and Constituents,
Civil Action No. 14-23323-civ-Scola
Plaintiffs, Consolidated Action Case No. 14-24140-
civ-Scola
VS.

MICHAEL D. CREWS, Secretary, Florida
Department of Corrections, in his Official
Capacity; WEXFORD HEALTH SOURCES,
INC.; and FLORIDA DEPARTMENT OF
CORRECTIONS, an Agency of the State

of Florida,

Defendants.

 

ANDRE CHAPMAN, as personal
representative of the ESTATE OF
DARREN RAINEY, on behalf of the
Estate, and on behalf of Darren Rainey’s
Surivivors, Andre Chapman, Renee
Chapman, Deborah Johnson, Chnieaqua
Breelove and Harold Marr,

Plaintiffs,
VS.

FLORIDA DEPARTMENT OF

CORRECTIONS, an Agency of the State

Of Florida, CORIZON, LLC, an out-of-

State limited liability corporation doing business

and registered in Florida, ROLAND CLARKE,
CORNELIUS THOMPSON and JERRY CUMMINGS

Defendants.

 
Case 1:14-cv-23323-RNS Document 215-1 Entered on FLSD Docket 07/14/2017 Page 2 of 3

AFFIDAVIT OF WAYNE K. ROSS, M.D.
STATE OF PENNSYLVANIA

)ss
COUNTY OF CHESTER

BEFORE ME, the undersigned authority, personally appeared Wayne K. Ross, M.D.,
who after being first duly sworn, deposes and says:
1. My name is Wayne K. Ross, M.D. I am of majority age and I have personal knowledge
of the facts set forth herein.
va I am a Board Certified Forensic Pathologist since 1989. I presently serve as the Forensic
Pathologist and Deputy Coroner in Dauphin County, Pennsylvania. I am also a Forensic
Pathologist for Lancaster County and Cumberland County in Pennsylvania. I previously worked
as a Medical Examiner in Dekalb, Cobb, and Gwinnett Counties in Georgia as well as Warren
County in New Jersey.
2. I have been retained as an expert in this matter by the attorneys representing Roland
Clarke and Cornelius Thompson. I would like to perform a diligent examination to assess all of
the organ systems of the deceased individual in this case. This would ideally and more
conveniently be performed using my own microscope at my Medical Examiner’s office in
Pennsylvania. The ease of using my own equipment for the examination will facilitate the
findings necessary to render my opinions. I will take photographs to show the jury what is going
on with the organs. Therefore, I would like to receive recuts of all the tissue slides. These tissue
slides will be unstained slides of all the tissue preserved as a result of the autopsy performed on

Darren Rainey.
Case 1:14-cv-23323-RNS Document 215-1 Entered on FLSD Docket 07/14/2017 Page 3 of 3

4. It is my opinion within reasonable medical probability that embedded tissue is preserved
pieces of organs and tissue from a deceased person’s body. The preserved pieces of organs
and/or tissue are processed and embedded in paraffin wax blocks. Re-cuts are organs or tissue
taken from the paraffin wax blocks containing the pieces of organs and tissue from a deceased
person’s body. These are reviewed by pathologists as part of the process to determine the cause
and manner of death.

S. Furthermore, recuts of human tissue taken from paraffin blocks can have microscopic
changes. However, the probability of those changes occurring is extremely low. Pathologists
recognize recuts are commonly referred to as the same tissue, but recuts may have miniscule
variations. Those scientifically possible, but small variations alone do not affect the outcome of
an examination. This is why recuts of tissues and organs are routinely done in the field of
forensic pathology.

6. I frequently receive recuts of tissues and organs sent by other medical examiner offices
for me to examine. Similarly, it is not unusual for my office to send recuts of tissues or organs to
other medical examiners for examination, and to determine the manner and cause of death.

Te In addition, I have been involved in cases where the medical examiners’ offices
performed an autopsy on a person that made one set of recuts and created stained slides. The
medical examiners’ offices have subsequently sent the same slides to each of the parties involved
in the litigation. This method permits different experts to review the same samples. The persons
involved in those matters have utilized Federal Express to deliver the recuts from party to party.

FURTHER AFFIANT SAYETH NOT.

WAYNE K. ROSS, M.D.

COMMONWEALTH OF PENNSYLVANIA
NOTARIAL SEAL :
Jacqueline L. Praedin, Notary Public
City of Allentown, Lehigh County
My Commission Expires March 13, 2020
MEMBER, PENNSYLVANIA ASSOCIATION OF NOTARIES

es phen 2. eed)

 

 

 

 

 
